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Attorney for Defendant – Pavel “Paul” Babichenko

                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF IDAHO

UNITED STATES OF AMERICA,             )
                                      )
              Plaintiff,              )
                                      )              Case No. CR 2018 258 S EJL
                                      )
vs.                                   )               APPEAL OF ORDER OF
                                      )                   DETENTION
PAVEL BABICHENKO,                     )
                                      )
              Defendant.              )
_____________________________________)

       COMES NOW, Pavel “Paul” Babichenko appeals Judge Ronald E. Bush’s August

31, 2018 Order of Detention Pending Trial. The appeal is made pursuant to 18 U.S.C. §

3145(c). The Honorable United States Magistrate Judge Bush reasoned that no condition

or combination of conditions of release could reasonably assure Mr. Babichenko’s (Paul)

appearance as required. The defense argues the court’s exercise of discretion under the

preponderance of evidence standard should be reexamined.

       Further, the defense believes there is additional evidence the court must consider

regarding the alleged strength of the evidence and his ties outside the country. The court

based its decision on multiple factors including: 1) extensive transfers of money,

controlled by Paul and others, from the United States to Brazil; 2) Paul’s residency status


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in Brazil and his alleged attempt to become a citizen; 3) Paul’s travel to Brazil repeatedly

over a course of years, and; 4) his knowledge of the nature of the counterfeit goods, as

well as his alleged possession and participation in sales of the same.

        A.      Standard of Review and Statutory Presumption

        This Court has de novo review of the judge’s decision to detain the Defendant

pending trial. United States v. Koening, 912 F.2d 1190, 1191 (9th Cir. 1990). The

statutory presumption here favors Paul’s release.

        B.      Background

        Paul’s case presents a unique situation. He has no criminal history. As discussed

at his initial detention hearing, Pretrial Services recommended release. This is a multi-

defendant case and only two (2) defendants have been held in custody. All others are on

pre-trial release.

        The judge ordered Paul detained because he could not find a condition or set of

conditions that would guarantee his appearance in court.           His additional findings

addressed the strong weight of the evidence, the possibility of a lengthy period of

incarceration if convicted, and Paul’s significant ties outside the United States. In short

the court deemed him a flight risk.

        The Pretrial Services Report contradicts the court’s finding.          The pretrial

interviewer’s recommendations suggested conditions for release.          There was ample

evidence of his strong ties to the community.         Ultimately, the court exercised its

discretion and denied release. The defense believes this decision was unreasonable.

        C.      Argument




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       The Bail Reform Act guarantees a person’s release on a pending charge, unless

the government can prove he is a flight risk or a danger to the community. 18 U.S.C. §

3142. The government conceded at the hearing there was no danger to the community.

Although in certain circumstances a presumption exists for detention, the Bail Reform

Act does not shift the presumption of release in this case.

       The court reasoned Paul was a flight risk based on the preponderance of the

evidence standard. The court did not address why conditions, such as forfeiture of a

passport and an electronic ankle monitor, would not meet the requirements of least

restrictive confinement assuring appearance. 18 U.S.C. § 3142(c). The defense argues

the analysis on the issue of release is incomplete. The court disregarded the Ninth

Circuit’s caution that “weight of the evidence is the least important of the various

factors.” Paul requests this Court hold a prompt hearing and reconsider his release with

reasonable conditions.

       D.      Conclusion

       Paul argues the Court should “bear in mind that the federal law has judicially

provided a person arrested for a non-capital offense shall be admitted to bail. Only in

rare circumstances shall release be denied.” Id. at 1403.

       DATED This 7th day of September, 2018.


                                                           /s/
                                              John C. DeFranco
                                              Attorney for Defendant




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 7th day of September, 2018, I filed the
foregoing sealed document electronically through the CM/ECF system.


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                                                     /s/ __________
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